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 17                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 18

 19
          JULIA HUBBARD and KAYLA                   Case No.: 2:22-cv-7957
 20 `     GOEDINGHAUS,
 21                                   Plaintiffs,
 22                                                 COMPLAINT FOR
                           vs.                      VIOLATIONS OF THE
 23                                                 TRAFFICKING VICTIMS
           TRAMMELL S. CROW, JR.,                   PROTECTION ACT AND
 24
           DR. BENJAMIN TODD ELLER,                 RACKETEER INFLUENCED
 25        RICHARD HUBBARD, DR. MELISSA             AND CORRUPT
           MILLER, DR. JOSEPH BOLIN,                ORGANIZATIONS ACT
 26        DR. SCOTT WOODS,
           DR. MRUGESHKUMAR SHAH,                   DEMAND FOR JURY TRIAL
 27
           MICHAEL CAIN, COE JURACEK,
 28        PHILIP ECOB, H.J. COLE, TEXAS            11/01/2022
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 1       RANGER CODY MITCHELL, KURT
         KNEWITZ, PAUL PENDERGRASS,
 2       RALPH ROGERS, ROBERT PRUITT,
         SCOTT BRUNSON, CASE GROVER,
 3       RICHARD BUTLER, MARK MOLINA,
 4       MICHAEL HYNES, JR., SHAWN
         MAYER, JADE MAYER, RCI
 5       HOSPITALITY HOLDINGS, INC.,
         INTEGRITY BASED MARKETING, LLC,
 6       STORM FITNESS NUTRITION, LLC,
 7       ULTRA COMBAT NUTRITION, LLC,
         ECOLOFT HOMES LLC, ELEVATED
 8       WELLNESS PARTNERS LLC, DOE
         INDIVIDUALS 1–20, and DOE
 9       COMPANIES 21–30
 10
                                   Defendants.
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  1          Plaintiffs Julia Hubbard (“Hubbard”) and Kayla Goedinghaus
  2   (“Goedinghaus”), by their attorneys Balestriere Fariello, for their Complaint
  3   against Trammell S. Crow, Jr. (“Crow”), Dr. Benjamin Todd Eller (“Eller”),
  4   Richard Hubbard (“Rick”), Dr. Melissa Miller (“Miller”), Dr. Joseph Bolin
  5   (“Bolin”), Dr. Scott Woods (“Woods”), Dr. Mrugeshkumar Shah (“Shah”),
  6   Michael Cain (“Cain”), Coe Juracek (“Juracek”), Philip Ecob (“Ecob”), H.J.
  7   Cole (“Cole”), Texas Ranger Cody Mitchell (“Mitchell”), Kurt Knewitz
  8   (“Knewitz”), Paul Pendergrass (“Pendergrass”), Ralph Rogers (“Rogers”),
  9   Robert      Pruitt   (“Pruitt”),   Scott Brunson (“Brunson”), Case Grover
 10   (“Grover”), Richard Butler (“Butler”), Mark Molina (“Molina”), Michael
 11   Hynes, Jr. (“Hynes”), Shawn Mayer (“Shawn Mayer”), Jade Mayer
 12   (“Jade Mayer”), RCI Hospitality Holdings, Inc. (“RCI”), Integrity Based
 13   Marketing, LLC, Storm Fitness Nutrition, LLC, Ultra Combat Nutrition,
 14   LLC,     EcoLoft     Homes     LLC,   Elevated   Wellness Partners LLC, Doe
 15   Individuals 1–20, and Doe Companies 21–30 respectfully allege as follows.
 16                                NATURE OF THE CASE
 17          1.     For nearly a decade or more, Defendant Richard Hubbard
 18   (“Rick”) ran a sex and labor trafficking venture (the “Venture”) for his
 19   financial gain, with the essential financial assistance and influence of
 20 ` environmental philanthropist Defendant Trammell S. Crow , Jr., and at least

 21   eight other prominent Texas businessmen.
 22          2.     To develop and run this successful Enterprise, including
 23   controlling the victims—who included at least Rick’s then-wife Plaintiff
 24   Julia Hubbard (“Hubbard”), whom Rick made into a virtual long-term sex
 25   slave, his later fiancée Plaintiff Kayla Goedinghaus (“Goedinghaus”), whom
 26   he also had those in the Venture beat and rape, and others whose identities
 27   are unknown at this time—Rick utilized the essential services of numerous
 28   doctors, a prominent police officer, an d others.



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  1          3.    Dozens of times, generally at “parties” (the “Forced Sex
  2     Parties”) over the course of years, Rick forced Hubbard, Goedinghaus, and
  3     others to perform sex acts for payment, which payments he retained, and to
  4     secure business relationships.
  5          4.    Rick used force, threats of force, fraud, or coercion to compel
  6     Hubbard and Goedinghaus to engage in commercial sex acts with the
  7     knowledge or reckless disregard of all Defendants, who each individually
  8     benefitted from the Venture.
  9          5.    This force and threats included beatings to the point of
 10     hospitalization—twice Rick injured Hubbard’s neck, requiring spinal
 11     surgery—and threats to harm Hubbard’s and Goedinghaus’s children, who
 12     were all under six years old at the time Rick, threatened them with the
 13     support of others in the Venture.
 14          6.    Indeed, the misconduct and crimes of the Defendants were so
 15     egregious that the Venture became an illegal racketeering enterprise (the
 16     “Enterprise”), whereby the Defendants conspired together to commit
 17     various unlawful predicate acts, including coercion, human trafficking,
 18     dealing in controlled substances, and wire fraud, all of which proximately
 19     harmed Plaintiffs and almost certainly other victims.
 20 `                  Dr. Todd Eller and the Medical Doctor Defendants
 21          7.    Key to Rick’s control of Hubbard and Goedinghaus—and the
 22     essential functioning of the Venture—was the work of psychologist Dr.
 23     Benjamin Todd Eller (“Eller”), who lives and works in this District.
 24          8.    Fully aware of the lies he was telling under oath for payment,
 25     Eller prepared false affidavits and other documents claiming that Hubbard
 26     and Goedinghaus were seriously psychiatrically troubled persons under his
 27     care and thus, he swore, required heavy doses of a variety of medications,




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  1     including Xanax, Adderall, Oxycodone, Marinol, Soma, Lorezapan,
  2     Ambien, and Trazadone.
  3           9.    This was a rank lie: Eller instead acted at Rick’s behest in return
  4     for hundreds of thousands of dollars of payments over the course of years.
  5           10.   Further, while Eller claimed that Hubbard was his patient, they
  6     spoke only twice.
  7           11.   When Eller did speak with his “patients,” Hubbard and
  8     Goedinghaus both informed Eller that Rick was fraudulently obtaining
  9     drugs in order to force them to commit sex acts. Hubbard and Goedinghaus
 10     asked for Eller’s help.
 11           12.   Eller ignored these pleas for help.
 12           13.   Rick forced Hubbard and Goedinghaus to take these drugs in
 13     order to make them participate in the sex acts. Rick also would threaten to
 14     withhold Xanax and other drugs if not obeyed, causing both Hubbard and
 15     Goedinghaus to suffer potentially fatal seizures caused by withdrawal from
 16     Xanax and Clonazepam. And Plaintiffs believe they are not alone. Rick
 17     would regularly bring other women to the Forced Sex Parties that he met
 18     through the website Adult Friend Finder and other similar adult websites,
 19     and also encouraged Hubbard and Goedinghaus to bring women as well.
 20 `         14.   As a psychologist, Eller was unable to write prescriptions on his
 21     own. However, Rick found medical doctors who were willing to write
 22     prescriptions based on Eller’s written recommendation. These physicians
 23     included Dr. Melissa Miller (“Miller”), Dr. Joseph Bolin (“Bolin”), Dr. Scott
 24     Woods (“Woods”), and Dr. Mrugeshkumar Shah (“Shah”) (the “Medical
 25     Doctor Defendants”).
 26           15.   It is not as if these doctors did not speak to the Plaintiffs; they
 27     did—but they ignored Plaintiffs’ pleas for assistance, and, in the cases of
 28     Defendants Woods and Shah, ignored Hubbard’s visible bruising, frequent


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  1   injuries, and frequent surgeries indicating physical abuse. Each of the
  2   Medical    Doctor   Defendants    were    informed   by   either   Hubbard,
  3   Goedinghaus, or both that the drugs the Medical Doctor Defendants were
  4   prescribing were being used for an improper purpose, that Hubbard and
  5   Goedinghaus were being abused by Rick, and that Hubbard and
  6   Goedinghaus needed help.
  7        16.    None of the Medical Doctor Defendants took any action in
  8   response to these reports, and instead simply prescribed the drugs that Eller
  9   had requested in return for payment from Rick.
 10         The Fixer Defendants: Texas Ranger Cody Mitchell and Kurt Knewitz
 11        17.    Rick’s structured human trafficking Venture and racketeering
 12   Enterprise relied not just on these medical professionals, but on other
 13   “fixers”—including at least one law enforcement officer ironically charged
 14   with investigating human trafficking—to maintain and grow the illegal
 15   organization over the years.
 16        18.    In addition to the drugs provided by Eller and the Medical
 17   Doctor Defendants, Rick would also use beatings, choking, guns, and
 18   threats of legal process to cause Hubbard and Goedinghaus to do as he
 19   wished, often through the use of the Fixer Defendants: Texas Ranger Cody
 20 ` Mitchell and Kurt Knewitz (the “Fixer Defendants”).
 21        19.    Rick’s threats of legal process were assisted by Defendant Cody
 22   Mitchell, a longtime friend of Rick’s and member of the elite Texas Ranger
 23   Division who specializes in human trafficking and child exploitation cases.
 24        20.    Rick had a close friendship with Mitchell and would regularly
 25   threaten Hubbard and Goedinghaus with arrest under false charges, telling
 26   them that if they did go to law enforcement, no one would believe them.
 27        21.    Rick informed Mitchell in detail of the operations of the Venture
 28   and provided him with naked photos of Hubbard and Goedinghaus.


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  1          22.   On one occasion, Rick shared with Hubbard a photograph that
  2     Mitchell had taken in his police cruiser and sent to Rick. In the photo,
  3     Mitchell was holding his penis in one hand and an open bottle of Jack
  4     Daniels whiskey in the other.
  5          23.   This photo was presented as a threat to Hubbard: Mitchell
  6     considered himself above the law and would do what he needed to do to
  7     protect Rick and the Venture.
  8          24.   The Venture also relied on another friend of Rick’s, oil and gas
  9     investor Defendant Kurt Knewitz, who recruited Hubbard to the Venture.
 10          25.    Knewitz acted as a “fixer” to the Venture, playing the role of
 11     “good cop” as needed.
 12          26.   In particular, Knewitz would reassure Hubbard when she was
 13     concerned about Rick’s behavior, particularly early on in Hubbard’s
 14     involvement in the Venture. Knewitz also attempted to keep Goedinghaus
 15     in the Venture by the same means.
 16          27.   In return for Knewitz’s assistance to the Venture, Rick forced
 17     Hubbard and Goedinghaus to perform sex acts with Knewitz. Knewitz also
 18     participated in many of the Forced Sex Parties, including many at which
 19     Hubbard was present.
 20 `        28.   Later, to assist the work of Knewitz and Mitchell, the Venture
 21     even enticed Hubbard’s ex-husband, Shawn Mayer, and his new wife, Jade
 22     Mayer, to assist the Venture by exercising control over Hubbard’s
 23     children—at Rick’s direction and the Venture’s benefit—in exchange for
 24     cash payments and other benefits.
 25                   Trammell Crow and the Other Investor Defendants
 26          29.   Essential to this operation was funding to run the general
 27     operations and provisioning of the Plaintiffs and others, as well as to pay
 28     Eller and the Medical Doctor Defendants, and accrue profits to Rick himself.


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  1         30.   The key financial supporter of the enterprise was Defendant
  2   Trammell S. Crow, Jr., a billionaire philanthropist and prominent member
  3   of the Dallas community whom Hubbard had known before meeting Rick.
  4         31.   Crow was involved at the very start of the Venture in 2010, knew
  5   full well all the details of the force, fraud, threat, and coercion which Rick
  6   used (in substantial part due to his prior relationship with Hubbard), and
  7   without him the Venture never could have succeeded, or indeed, ever
  8   gotten started.
  9         32.   Almost as much as Rick, Trammell was a key to the Venture’s
 10   existence and long running success.
 11         33.   Once Hubbard introduced Crow to Rick, Rick ingratiated
 12   himself with Crow.
 13         34.   Rick convinced Crow to invest in the Venture, which Crow did.
 14   In return, Rick would traffic Hubbard and Goedinghaus to Crow, would
 15   supply drugs for Crow’s parties, would force Hubbard to have sex with
 16   Crow’s then-girlfriend in front of Crow (which Rick and Crow both
 17   videotaped and was used both for Crow’s enjoyment and to threaten
 18   Hubbard), would force Goedinghaus to have sex in front of Crow (during
 19   the course of one Forced Sex Party over the course of several days), and
 20 ` would traffic other victims of the Venture to Crow at the “parties” on
 21   dozens of occasions over the course of years.
 22         35.   Crow’s lifestyle meshed well with Rick’s activities, as Crow
 23   enjoyed hosting drug-fueled parties, which were attended by many of the
 24   Investor Defendants (identified below) and others, including other victims
 25   of the Venture that Rick would bring to the parties. Crow particularly
 26   enjoyed the use of cocaine, so much (according to Rick) that he had his
 27   housekeeping staff fill containers in his home with cocaine, and refill as
 28   needed on a daily basis.


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  1           36.     Hubbard told Crow that Rick was forcing her to perform sex
  2     acts and forcing her to take drugs to induce such acts.
  3           37.     However, Crow had grown to enjoy Rick’s services and took no
  4     action to either help Hubbard or stop doing business with Rick and the
  5     Venture.
  6           38.     In addition to the direct financial benefit from Crow, Rick and
  7     Crow benefitted from working together to get others to join the Venture as
  8     co-investors and clients.
  9           39.     The Venture’s list of Investor Defendants grew to include the
 10     following, all of whom either knew or recklessly disregarded the fact that
 11     Rick was using force, threats of force, fraud, or coercion to cause Hubbard
 12     and Goedinghaus, and others, to engage in sex acts; knowingly supported
 13     the Venture in its activities (including, but not limited to, by providing
 14     funding to the Venture); and received benefits from the Venture (including,
 15     but not limited to, receiving sex and media of naked women or individuals
 16     engaged in sex acts).
 17           40.     The Investor Defendants include:
 18                 • Scott Brunson (Owner, Luna Pietra LLC): Brunson supported the
 19                   Venture by providing at least $27,000 in financial support for the
 20 `                 Venture, had knowledge of the Venture’s acts by attending
 21                   parties at which at Goedinghaus was forced to perform sex acts,
 22                   and benefitted by Rick forcing Goedinghaus to perform sex acts
 23                   with Brunson.
 24                 • Michael Cain (President and Executive Producer, M3 Films,
 25                   LLC): Cain supported the Venture by providing financial support
 26                   and drugs to the Venture, had knowledge of the Venture’s acts
 27                   by attending parties in which at least Hubbard was forced to




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   1              perform sex acts, and benefitted by Rick forcing Hubbard to
   2              perform sex acts in front of Cain.
   3           • H.J. Cole (Founder of HJ Cole & Associates): Cole supported the
   4              Venture by providing drugs to the Venture, had knowledge of
   5              the Venture’s acts by attending parties in which at least Hubbard
   6              was forced to perform sex acts, and benefitted by Rick forcing
   7              Hubbard to perform sex acts with him.
   8           • Philip Ecob (President, Twynym Capital): Ecob supported the
   9              Venture by providing financial support to the Venture, had
  10              knowledge of the Venture’s acts including the Forced Sex Parties,
  11              and benefitted through his employment at Crow Holdings
  12              Capital, Crow’s family company, where Ecob was well
  13              compensated, in part to maintain his silence regarding what he
  14              knew about Crow’s Forced Sex Parties.
  15           • Coe Juracek (Senior Managing Director, Crow Holdings Capital):
  16              Juracek supported the Venture by providing financial support to
  17              the Venture, had knowledge of the Venture’s acts including the
  18              Forced Sex Parties, and benefitted by receiving naked photos of
  19              Hubbard. Juracek also benefitted from his employment at Crow
  20 `            Holdings Capital, where Juracek was well compensated, in part
  21              to maintain his silence regarding what he knew about Crow’s
  22              Forced Sex Parties.
  23           • Paul Pendergrass (Owner of P3 LLC): Pendergrass supported the
  24              Venture by providing more than $250,000 to the Venture, had
  25              knowledge of the Venture’s Forced Sex Parties and the events
  26              that occurred at those parties, and benefitted by expectation of
  27              receiving funds from the Venture and receiving naked photos of
  28              Hubbard.


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   1              • Robert “Bob” Pruitt (President of Data Center Equipment &
   2                Support, LLC): Pruitt supported the Venture by providing
   3                financial support to Rick and the Venture, including employing
   4                Rick and paying Rick’s utility bills. Rick forced Hubbard to
   5                provide naked photographs of herself to Pruitt and to perform
   6                sex acts with Pruitt.
   7              • Ralph Rogers (Real estate investor): Rogers supported the
   8                Venture by providing significant financial support to Rick to
   9                support the Venture, in the form of cash, supplying drugs to the
  10                Venture, and allowing Rick to live rent free on his property since
  11                2018. Rogers had knowledge of the Venture’s acts by attending
  12                parties in which Goedinghaus was forced to perform sex acts and
  13                had knowledge of the Forced Sex Parties in which Hubbard was
  14                forced to have sex, and benefitted by Rick allowing Rogers to
  15                watch Goedinghaus performing sex acts and received naked
  16                photos of Hubbard.
  17                           The Labor Trafficking Defendants
  18        41.     Hubbard finally left Rick in March 2017, moving out due to the
  19   abuse. However, the scope of Rick’s work in establishing and running a
  20 ` now-well-funded human trafficking Venture that relied on the support of
  21   medical and law enforcement professionals prevented Hubbard from fully
  22   escaping the Venture.
  23        42.     Instead, Rick and the Venture continued to unlawfully benefit
  24   by labor trafficking Hubbard even after she no longer lived with Rick.
  25        43.     Specifically, Case Grover, Marc Molina, Richard Butler, RCI
  26   Entertainment, Inc., and Michael Hynes, Jr. (the “Labor Trafficking
  27   Defendants”) all benefitted by knowingly receiving the labor of Hubbard




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   1   through means of force, threats of force, physical restraint, serious harm, or
   2   threats of such means.
   3         44.   Grover, Molina, and Butler were all managers at Silver City
   4   Cabaret (the “Cabaret”), a gentleman’s club in Dallas, Texas that is owned
   5   by RCI Entertainment, Inc.
   6         45.   Grover forced Hubbard to work at the Cabaret, confiscating a
   7   portion of her wages for his personal benefit with the knowledge of Molina,
   8   Butler, and RCI Entertainment, Inc.
   9         46.   Grover would cause Hubbard to perform such work through
  10   physical abuse and threats, including beating Hubbard so hard that
  11   Hubbard suffered multiple broken ribs and threatening Hubbard with
  12   guns, including an AK-47 which Grover brought to Hubbard’s home and
  13   fired repeatedly. Grover even intentionally crashed and totaled Hubbard’s
  14   car so that she was further dependent on Grover for transportation.
  15         47.   Grover was also in regular contact with Rick, exchanging
  16   information concerning Hubbard for their mutual benefit and the
  17   advancement of the Venture. Grover would also threaten to “give
  18   [Hubbard] back” to Rick if she disobeyed him.
  19         48.   After Hubbard fled Grover, she was further labor trafficked by
  20 ` Michael Hynes, Jr., on behalf of the Venture. Hynes forced Hubbard to sell
  21   drugs for his financial benefit at various clubs owned by RCI Hospitality
  22   Holdings, Inc., called XTC and Temptations. Hynes also, at Rick’s urging,
  23   would force Hubbard to have sex with Hynes in front of his drug dealer in
  24   exchange for drugs.
  25         49.   Hynes caused Hubbard to comply through both physical harm
  26   and the threat of legal process from his father, Police Officer Michael Hynes,
  27   Sr., a member of the Fort Worth Police Department, who led Hubbard to




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   1   believe that she would be safe by virtue of his position. However, Hubbard
   2   was wrong.
   3         50.   Just like Grover, Hynes was in regular contact with Rick and
   4   would trade information on Hubbard’s whereabouts with him, so that Rick
   5   could assist in and benefit from Hynes’s labor trafficking of Hubbard. Like
   6   Grover, Hynes would also threaten to “give [Hubbard] back” to Rick if she
   7   did not do as Hynes demanded.
   8         51.   Hubbard eventually escaped the Venture in November 2018.
   9         52.   Plaintiff Goedinghaus, meanwhile, escaped from the Venture in
  10   January 2020.
  11                            JURISDICTION AND VENUE
  12         53.   Venue is appropriate in the Central District of California as
  13   Defendant Eller resides and operates his business in the District and his acts
  14   were central to and essential to the work of the Venture described herein.
  15         54.   This Court has subject matter jurisdiction over this action
  16   pursuant to 18 U.S.C. § 1964(a), which provides the district courts of the
  17   United States jurisdiction over violations of 18 U.S.C. § 1962.
  18         55.   This Court also has subject matter jurisdiction over this action
  19   pursuant to 18 U.S.C. § 1595, which provides the district courts of the United
  20 ` States jurisdiction over violations of 18 U.S.C. § 1591.
  21         56.   This Court also has subject matter jurisdiction over this action
  22   pursuant to 18 U.S.C. § 1030(g), which provides the district courts of the
  23   United States jurisdiction over violations of 18 U.S.C. § 1030.
  24         57.   This Court has supplemental jurisdiction over the remaining
  25   claims pursuant to 28 U.S.C. § 1367(a), as those claims form part of the same
  26   case or controversy as the related federal claims over which this Court has
  27   original jurisdiction.




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   1           58.   This Court has personal jurisdiction over the parties, as the
   2     actions that constitute the violations of 18 U.S.C. § 1962(c) and (d) were
   3     made possible by the acts of Defendant Eller, which occurred in this District.
   4     Further, the Court has personal jurisdiction over each Defendant because
   5     each Defendant who does not reside in this District purposefully availed
   6     themselves of the legal protection of the State of California and purposefully
   7     directed business to this State.
   8           59.   Moreover, nationwide service of process is conferred by 18
   9     U.S.C. § 1965(b) for violations of 18 U.S.C. § 1962 as long as the Court has
  10     personal jurisdiction over at least one party.
  11                                        PARTIES
  12                                        Plaintiffs
  13           60.   Plaintiff Julia Hubbard is an individual who resides in Fairfax,
  14     Virginia.
  15           61.   Plaintiff Kayla Goedinghaus is an individual who resides in
  16     Fairfax, Virginia.
  17                                        Defendants
  18           62.   Defendant Trammell S. Crow is an individual who resides in
  19     Dallas, Texas.
  20 `         63.   Defendant Dr. Benjamin Todd Eller is an individual who resides
  21     in Santa Monica, California.
  22           64.   Defendant Richard Hubbard is an individual who resides in
  23     Marble Falls, Texas.
  24           65.   Defendant Dr. Melissa Miller is an individual who resides in
  25     Texas.
  26           66.   Defendant Dr. Joseph Bolin is an individual who resides in
  27     Plano, Texas.




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   1           67.   Defendant Dr. Scott Woods is an individual who resides in
   2     Texas.
   3           68.   Defendant Dr. Mrugeshkumar Shah is an individual who is
   4     currently incarcerated at FCI Butner in Butner, North Carolina.
   5           69.   Defendant Michael Cain is an individual who resides in Dallas,
   6     Texas.
   7           70.   Defendant Coe Juracek an individual who resides in Dallas,
   8     Texas.
   9           71.   Defendant Philip Ecob an individual who resides in Dallas,
  10     Texas.
  11           72.   Defendant H.J. Cole an individual who resides in Dallas, Texas.
  12           73.   Defendant Texas Ranger Cody Mitchell an individual who
  13     resides in Austin, Texas.
  14           74.   Defendant Paul Pendergrass is an individual who resides in
  15     Texas.
  16           75.   Defendant Ralph Rogers is an individual who resides in Marble
  17     Falls, Texas.
  18           76.   Defendant Robert Pruitt is an individual who resides in Plano,
  19     Texas.
  20 `         77.   Defendant Scott Brunson is an individual who resides in the
  21     Greater Austin area of Texas.
  22           78.   Defendant Case Grover is an individual who resides in
  23     McKinney, Texas.
  24           79.   Defendant Richard Butler is an individual who resides in Dallas,
  25     Texas.
  26           80.   Defendant Mark Molina is an individual who resides in Dallas,
  27     Texas.




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   1         81.   Defendant Michael Hynes, Jr. is an individual who resides in
   2   Mansfield, Texas.
   3         82.   Defendant Shawn Mayer is an individual who resides in Justin,
   4   Texas.
   5         83.   Defendant Jade Mayer is an individual who resides in Justin,
   6   Texas.
   7         84.   Defendant RCI Hospitality Holdings, Inc. is a Delaware
   8   corporation with a principal place of business in New York.
   9         85.   Integrity Based Marketing, LLC is a Texas limited liability
  10   company with a principle place of business in Marble Falls, Texas.
  11         86.   Storm Fitness Nutrition, LLC is a Texas limited liability
  12   company with a principle place of business in Marble Falls, Texas.
  13         87.   Ultra Combat Nutrition, LLC is a Texas limited liability
  14   company with a principle place of business in Marble Falls, Texas.
  15         88.   EcoLoft Homes LLC is a Texas limited liability company with a
  16   principle place of business in Marble Falls, Texas.
  17         89.   Elevated Wellness Partners LLC is a Texas limited liability
  18   company with a principle place of business in Marble Falls, Texas.
  19         90.   Doe Individuals 1 through 20 are fictitiously-named individuals
  20 ` whose identities will be discovered during the course of litigation.
  21         91.   Doe Companies 21 through 30 are fictitiously-named entities
  22   whose identities will be discovered during the course of litigation.
  23                                   Third-Parties
  24         92.   Non-Party Police Officer Michael Hynes, Sr., is an individual
  25   who resides in Mansfield, Texas.
  26         93.   Non-Parties Laura Ellwell, Monique Farkas, Renee Heaton,
  27   Angela Pace, and Kim Ponder are believed victims of the Venture who
  28   reside in Texas.


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   1         94.   Texas Sunrooms and Windows is an unincorporated entity
   2   based in Texas and operated by Rick.
   3         95.   Plaintiffs anticipate that discovery in this matter will reveal the
   4   identities of other victims of the Venture.
   5                            STATEMENT OF FACTS
   6    Plaintiff Hubbard Meets and Marries Defendant Rick, through Fixer Defendant
   7                                    Kurt Knewitz
   8         96.   Hubbard met Rick in 2009 while in the middle of a custody
   9   battle over two children from her previous marriage with Defendant Shawn
  10   Mayer.
  11         97.   Hubbard and Rick quickly entered into a relationship, and Rick
  12   moved in with Hubbard after just a few weeks of knowing her, as she found
  13   him charming and agreeable. They married in February 2010 and had a
  14   daughter later that year.
  15         98.   Hubbard met Rick through Defendant Kurt Knewitz, a man she
  16   met on Facebook and dated briefly.
  17         99.   Knewitz and Rick, Hubbard discovered, were extremely close
  18   friends from college, and later learned that Knewitz was acting as a recruiter
  19   for Rick. Knewitz also later bragged about having attended sex parties with
  20 ` Rick for many years.
  21         100. Early in the relationship, things were going well. Rick acted like
  22   a “hero” to Hubbard, saving her from the poor circumstances she was in
  23   before.
  24                Financial Difficulties Lead Rick to Defendant Dr. Eller
  25         101. Rick’s desire to act like a “hero” gradually became controlling.
  26         102. Rick began to take financial control in the relationship,
  27   including controlling all financial accounts, making Hubbard completely
  28   dependent on him.


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   1           103. Rick initially expressed this need for financial control as a desire
   2     to protect and provide for his new, pregnant wife. Hubbard, who had been
   3     raised in a conservative Mormon household, at first thought this desire was
   4     normal and even gallant.
   5           104. However, Rick’s ability to provide hit a snag when, during their
   6     first year of marriage in 2010 when Hubbard was still pregnant, he was
   7     arrested for financial fraud.
   8           105. Rick’s arrest was in connection with a company he owned,
   9     Texas Sunrooms and Windows, for which he was charged with felony
  10     misappropriation of fiduciary property after scamming an elderly woman
  11     out of $3,400. Rick pleaded guilty in exchange for a fine, restitution, and
  12     three years’ probation.
  13           106. Following his arrest, Rick became increasingly desperate to
  14     improve his financial situation.
  15           107. As Rick saw himself as a successful business owner, he refused
  16     to seek employment, but rather sought to start a successful new business.
  17     However, this proved harder than Rick had expected, and Rick quickly
  18     became frustrated.
  19                  Rick Begins to Pressure Hubbard to Attend Sex Parties
  20 `         108. Seeking an outlet for his financial frustrations, in 2010, Rick
  21     began expressing a desire for Hubbard to engage in “swinging” as he called
  22     it. Rick described this as something that he had done in the past and would
  23     involve Rick and Hubbard going to “swinger parties” where they would
  24     each meet and have sex with other people.
  25           109. This made Hubbard extremely uncomfortable.
  26           110. Rick, however, was persistent, and spoke at length of how it was
  27     important to “break free” of the “social construct” of monogamy, as well as
  28     the “religious indoctrination” of Hubbard’s strict conservative upbringing.


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   1        111. Rick also promised that he would never force Hubbard to do
   2   anything that she was not comfortable with.
   3        112. Wanting to please her new husband, Hubbard reluctantly
   4   agreed to try out swinger parties with Rick.
   5        113. While Hubbard did not enjoy them, these parties, at first, were
   6   as Rick had promised: they were infrequent and consensual.
   7               Rick Meets Defendant Dr. Eller and the Venture Begins
   8        114. Meanwhile, by early 2011, Rick’s financial fortune had failed to
   9   improve.
  10        115. However, Rick was not deterred, and continue to invest time
  11   and money into a marketing program called Chet Holmes International.
  12        116. Through the program, Rick met Dr. Benjamin Todd Eller, a
  13   psychologist who lived and worked in Santa Monica, California. In 2012,
  14   Rick began using Eller’s services as a “business consultant” to advise him in
  15   the Chet Holmes methods.
  16        117. Dr. Eller had a respectable background. He held a PhD from the
  17   University of California Los Angeles, where he had taught and also worked
  18   for the university’s National Center for the Study of Evaluation, a highly
  19   respected research center for developing methods for child education which
  20 ` are then used by K–12 schools throughout the country. He also is currently
  21   a professor at West Coast University. Eller also periodically appears as a
  22   television commentator.
  23        118. Eller also had an entrepreneurial streak of lending his
  24   credentials to various enterprises: he is a co-founder of Devotional
  25   Connection, a Christian devotional social networking service, and Chief
  26   Educational Officer of BabyFirst TV, a children’s television production
  27   company, which used Eller’s educational psychology background to
  28   promote    programs     such   as   “Harry     the   Bunny,”    “Peekaboo,”


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   1   “VocabuLarry,” and “Clor Crew,” available through the company’s app
   2   and certain Hulu plans.
   3           119. However, despite his experience, and being engaged as Rick’s
   4   “business consultant,” Eller failed to help Rick form a successful legitimate
   5   business.
   6           120. Instead, Rick and Eller realized that they could make much
   7   more money by trafficking women to wealthy businessmen. To do so, they
   8   took the initial steps in creating the Venture.
   9                       Rick and Eller Begin to Build the Venture
  10           121. Building a successful sex and labor trafficking venture required
  11   work.
  12           122. First, the Venture needed women to traffic, but Rick was ready
  13   and willing to traffic his wife, Hubbard. While Rick knew that Hubbard
  14   would not agree to this, Rick realized that he could use the sex parties they
  15   had been arranging as a cover.
  16           123. Still, Rick knew that he would need Hubbard to attend far more
  17   sex parties in order for the Venture to be as profitable as he wished. This
  18   was where Eller came in: Eller would fraudulently use his psychological
  19   practice to force Hubbard to engage in commercial sex at parties—the
  20 ` Forced Sex Parties.
  21           124. Rick and Eller’s scheme worked like this: Eller would claim that
  22   Hubbard was his patient and had serious psychological issues requiring
  23   heavy medication. Rick would then procure high doses of drugs, including
  24   Xanax, Adderall, Oxycodone, Marinol, Soma, Lorezapan, Ambien, and
  25   Trazadone, and force Hubbard to take them in high doses order to make her
  26   pliable. Rick kept these drugs in what he called his “prescription bar.”




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   1            125. For these services Rick paid Eller a monthly fee ranging from
   2   $2,500 to $5,000, resulting in what Plaintiffs believe to be hundreds of
   3   thousands of dollars in payments to Eller over the years.
   4            126. Below is an example of one such partial payment to Eller. Rick
   5   sent the below screenshot to Goedinghaus to show her that he had paid
   6   Eller.
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  19            127. Such drugs as Eller recommended, especially when mixed
  20 ` together and in high doses, made it both difficult for Hubbard to resist
  21   Rick’s demands when she ingested the drugs, and, over time, their addictive
  22   nature would allow Rick further control over her life.
  23            128. As an added benefit, Rick could also sell some of the drugs in
  24   order to obtain additional profit for the Venture.
  25            129. Beyond the drugs themselves, Eller’s credibility as a respected
  26   psychologist—including the very fact that he represented such drugs as
  27   necessary for Hubbard—gave Rick and the Venture even further control
  28   over Hubbard.


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   1           130. As Eller knew very well, psychologists are given great deference
   2     when giving what they represent as their professional opinion, especially
   3     psychologists with a respectable professional background who insist that
   4     their patient needs medication. If Eller said that Hubbard was a danger to
   5     herself and her daughter, and particularly if he was willing to say so under
   6     oath, few people would believe Hubbard over him.
   7           131. Eller, having been a psychologist for decades, realized how
   8     powerful this was: it meant that Hubbard would be unlikely to be believed
   9     by the police or by courts, meaning that she had no recourse to anything
  10     that Rick might force her to do, and if she did try to resist, she was unlikely
  11     to retain any custody of her daughter. Any protests that Hubbard made
  12     would simply be dismissed as paranoid delusions.
  13           132. Below is an example of the type of signed documents that Eller
  14     would submit to courts. This is an excerpt that Eller submitted on October
  15     3, 2019, to assist Rick in a failed attempt to bring Hubbard back to the
  16     Venture by maintaining control of Hubbard’s children:
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   1          133. Years later, in 2022, when the family court judge in Hubbard’s
   2     custody case had the opportunity to more fully hear matters, the court saw
   3     through these falsehoods alleged by Eller and, ultimately, granted Hubbard
   4     custody of her child and found Rick to have engaged in domestic and sexual
   5     abuse:
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  22          134. The court not only gave Hubbard full custody, it also barred
  23     Rick from any communication with his child except by pre-approved letters
  24     to a therapist—an extreme result reflecting the wrongdoing that the court
  25     saw from Rick.
  26          135. While Eller held himself out as Hubbard’s psychologist, this was
  27     a rank lie: Eller exercised no professional judgment and simply did




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   1   whatever Rick asked him to. Many times, Rick would even draft a document
   2   himself, and Eller simply signed what Rick presented to him.
   3         136. In fact, despite holding himself out as Hubbard’s psychologist
   4   for more than five years, Eller only met or spoke with Hubbard twice.
   5         137. Eller’s work was essential to the Venture. Without Eller’s work,
   6   Hubbard (and later Plaintiff Goedinghaus) could not have been forced to
   7   perform commercial sex acts, at least not close to the scale at which the
   8   Venture operated.
   9                  The Venture Adds the Medical Doctor Defendants
  10         138. While drugs were essential to the Venture and key to Eller’s role
  11   in it, Eller could not supply the Venture without more help.
  12         139. Because Eller was not a medical doctor, he was unable to write
  13   the prescriptions for the medications that were essential for the Venture. But
  14   the Venture quickly found a way around this roadblock. Starting in Fall
  15   2010, it located the Medical Doctor Defendants, four physicians who were
  16   eager to write prescriptions based only on Eller’s written recommendations
  17   in exchange for payments from Rick.
  18         140. Below is an example of one such letter, from Spring 2019, in
  19   which Eller did not even properly spell the name of Plaintiff Goedinghaus,
  20 ` Eller’s supposed patient:
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   1           141. The Medical Doctor Defendants constitute Dr. Joseph Bolin,
   2     Dr. Melissa Miller, Dr. Mrugeshkumar Shah, and Dr. Scott Woods.
   3           142. The Medical Doctor Defendants all knowingly provided
   4     essential support to the Venture, with knowledge or at least reckless
   5     disregard of its improper activities, in exchange for financial benefit.
   6           143. Each and every one of the Medical Doctor Defendants were
   7     informed by Plaintiffs that the drugs that the Medical Doctor Defendants
   8     were prescribing were being used for an improper purpose, that Hubbard
   9     and Goedinghaus were being abused by Rick, and that Hubbard and
  10     Goedinghaus needed help.
  11           144. None of the Medical Doctor Defendants took any action in
  12     response to these reports, and instead simply prescribed the drugs that Eller
  13     and Rick had requested.
  14           145. Specifically:
  15              • Shah: A pain management doctor that Hubbard began seeing in
  16                 or about 2013. Shah and staff would issue prescriptions without
  17                 questions. Shah was later found guilty at trial for a $200 million
  18                 medical kickback and bribery scheme separate from the Venture
  19                 and is currently serving a 42-month sentence in federal prison.
  20 `               Over the course of multiple visits in Summer 2014, Hubbard
  21                 told Shah that she did not need the drugs and was being forced
  22                 to engage in sex against her. Shah’s actions constituted a dealing
  23                 in a controlled substance, a predicate act under RICO.
  24              • Bolin: Rick would also at times direct Hubbard to Bolin, who
  25                 was Rick’s primary care physician. Like Shah, Bolin would issue
  26                 any prescription that the Venture required without issue. In
  27                 Summer 2018 Hubbard told Bolin that she did not need the
  28                 drugs and was being forced to engage in sex against her will.


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   1                Bolin’s actions constituted a dealing in a controlled substance, a
   2                predicate act under RICO.
   3             • Woods: Rick also directed Hubbard to Woods, a psychiatrist.
   4                Rick acted eager for Hubbard to visit Woods, and Woods
   5                appeared particularly eager to prescribe drugs without
   6                question. Woods repeatedly assured Hubbard that he would
   7                give her “whatever [she] need[ed],” even when she repeatedly
   8                showed up for appointments while visibly on drugs. Rick
   9                would pay Woods $100 per visit for this service. In 2017,
  10                Hubbard told Woods that she did not need the drugs and was
  11                being forced to engage in sex against her will. Woods’s actions
  12                constituted a dealing in a controlled substance, a predicate act
  13                under RICO.
  14             • Miller: Miller is a primary care physician who Rick forced
  15                Goedinghaus to visit starting in April or May 2019.
  16                Goedinghaus informed Miller that Rick was withholding her
  17                medications, thus forcing her into withdrawal, physically
  18                abusing her, including choking her out to the point of
  19                unconsciousness, and raping her, but Miller continued to
  20 `              provide drugs to Goedinghaus and provided no assistance.
  21                Miller’s actions constituted a dealing in a controlled substance,
  22                a predicate act under RICO.
  23          146. The Medical Doctor Defendants would prescribe large doses of
  24     a wide variety of medications, which allowed the Venture to function and
  25     should have caused the Medical Doctor Defendants to exercise further
  26     professional diligence, which they ignored in order to encourage the
  27     continued payments from the Venture.




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   1        147. Plaintiffs had even informed all Medical Doctor Defendants that
   2   Rick, on occasion, withheld or stole all medications prescribed to Hubbard
   3   and Goedinghaus to punish them.
   4        148. But the Medical Doctor Defendants did not intervene or offer
   5   support in any other way, like recommend subsidized healthcare, as is
   6   typical for patients in Plaintiffs’s financial position. The Medical Doctor
   7   Defendants were aware that Plaintiffs had no financial autonomy and were
   8   geographically isolated (where even a grocery store for basic supplies was
   9   thirty minutes away) and that their whereabouts and communication was
  10   monitored.
  11        149. Even had Plaintiffs not informed the Medical Doctor
  12   Defendants of the Venture (which they did), the high doses prescribed
  13   without proper diligence alone was enough to place the Medical Doctor
  14   Defendants in reckless disregard of the fact that these drugs were being
  15   used for an improper purpose and reasonable diligence would have
  16   required further inquiry.
  17        150. The drugs prescribed also included the so-called “Holy Trinity”
  18   of an opioid (Oxycodone), a benzodiazepine (Xanax or Clonazepam), and a
  19   carisoprodol (Soma). In this combination, they present a high risk of
  20 ` overdose and death as well as an extremely high risk of addiction.
  21        151. Below are examples of drugs prescribed by Medical Doctor
  22   Defendants Shah and Woods to Hubbard (this reflects only a portion of
  23   prescriptions filled at CVS; the Venture also filled prescriptions at other
  24   retailers including Krogers and Walmart):




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   9        152. Below are examples of drugs prescribed by Medical Doctor
  10   Defendant Miller to Goedinghaus:
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  19        153. In order to ensure she made her appointments, Rick would often
  20 ` send Hubbard calendar alerts for meetings with doctors (sometimes with
  21   misspellings, in the case of Defendant Bolin’s name):
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   9                               The Fixer Defendants
  10         154. In addition to Defendants Rick, Dr. Eller, and the Medical
  11   Doctor Defendants, the next step in the development of the Venture was the
  12   employment of those to keep the Venture going, including people to fix
  13   problems as they came up. These roles were filled by the Fixer Defendants:
  14   Kurt Knewitz and Texas Ranger Cody Mitchell.
  15         155. The Fixer Defendants operated to keep Hubbard and the
  16   Venture’s other victims in line, including by way of threatening misuse of
  17   legal process.
  18         156. Knewitz and Mitchell were old friends of Rick’s dating back at
  19   least to college (according to Rick, Mitchell and Rick had been friends since
  20 ` childhood), when they would participate in sex parties together.
  21         157. Defendant Knewitz, as discussed above, acted as a recruiter and
  22   reassuring presence, acting as a “good cop.” He maintained a relationship
  23   with Hubbard in order to encourage her to seek his counsel when she
  24   became troubled by Rick’s behavior. Then whenever Hubbard did speak
  25   with Knewitz to express concerns about Rick, Knewitz would convince her
  26   to stay with Rick.
  27         158. Defendant Texas Ranger Mitchell served as the literal bad cop.
  28   He was a member of the elite and highly respected Texas Rangers Division,


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   1   where he in fact specialized in investigating human trafficking and child
   2   exploitation cases.
   3         159. Even among the Texas Rangers, Mitchell was high-profile—he
   4   was well known and, in 2020, was even featured in a Showtime mini-series
   5   about one of his cases, called Outcry.
   6         160. Rick made use of Mitchell early on to intimidate Hubbard—Rick
   7   told Hubbard that Mitchell had done research and that her former husband,
   8   Shawn Mayer, had been under “investigation” by the Texas Rangers for
   9   child exploitation.
  10         161. Rick used this to isolate Hubbard, and he even forced Hubbard
  11   to take a polygraph test to “prove” that Mayer had abused her and make
  12   her more dependent on Rick.
  13         162. Rick also sought, with the help of Mitchell, to report abuse in
  14   order to take custody of Hubbard’s children with Mayer away from him in
  15   order to better control Hubbard.
  16         163. All of this made Mitchell an imposing threat. When Hubbard
  17   seemed like she may not obey Rick’s demands, Rick would tell Hubbard
  18   that Mitchell could cause her to be arrested. Rick also repeatedly told
  19   Hubbard that if she did attempt to contact law enforcement, a call from
  20 ` Mitchell (as well as Eller) would quickly cause the police to disregard
  21   whatever Hubbard said.
  22                              The Investor Defendants
  23         164. Now that Rick and Eller had secured their essential means to
  24   control Hubbard and Goedinghaus, the next step was to secure funding.
  25         165. Here too, Rick was adept at seizing opportunities. In 2009,
  26   shortly after meeting Hubbard, he learned that Hubbard was friends with
  27   Defendant Trammell Crow, the son of a prominent Dallas real estate family.




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   1           166. The Forced Sex Parties and related events that the Investor
   2     Defendants attended were so important to Rick that he would habitually
   3     send Hubbard calendar alerts in order to better organize the Venture. For
   4     example:
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  19                                  Defendant Trammell Crow
  20 `         167. As Rick knew, Hubbard had met Crow in 2009 while she was
  21     working as a waitress at Plush Nightclub in Dallas.
  22           168. Hubbard and Crow then became friends, with Crow inviting
  23     Hubbard to charity events and Hubbard in turn inviting Crow to modeling
  24     shows.
  25           169. Rick met Crow at one of these modeling shows in 2009, and later
  26     made efforts to ingratiate himself to Crow for his own advantage.
  27           170. As Rick knew, Crow was wealthy and closely connected to
  28     Dallas business interests.


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   1        171. The Crow family company, Crow Holdings, currently boasts
   2   $27 billion in assets under management, and was involved with the
   3   development of a number of iconic buildings thorough the United States,
   4   including the Embarcadero Center in San Francisco and the Peachtree
   5   Center in Atlanta.
   6        172. Defendant Crow himself was more involved in other endeavors,
   7   focusing on environmental philanthropy. Crow is currently on the board of
   8   ConservAmerica and is involved with a range of other environmental
   9   nonprofits including the Texas Conservation Alliance, the Nature
  10   Conservancy of Texas, Texans for Public Lands, and the League of
  11   Conservation Voters. Crow also serves as president of the Crow Family
  12   Foundation, which in 2020 disbursed more than $45 million in charitable
  13   funding.
  14        173. Crow also hosted various parties and social events, which were
  15   much-desired invitations, particularly for those who wished to rise in the
  16   ranks of the Dallas business community, as proximity to Crow and his
  17   guests could open many doors. Crow would even sometimes allow Rick to
  18   stay at Crow’s home after the party.
  19        174. For instance, Crow hosted a twice-annual camping event, in the
  20 ` fall and spring each year, called “Kiddie Campout” for fathers and their
  21   children. This event was so exclusive and well-known, requiring a personal
  22   invitation from Crow, that telling local businessmen that you went to the
  23   event would instantly confer credibility. This credibility benefit was
  24   especially pronounced for someone like Rick (who became an annual guest
  25   at the camp out due to the Venture), who otherwise lacked the markers of
  26   being an insider in this community.
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   1         175. This camp out was so important to Rick that he would send
   2   Hubbard calendar alerts for the date:
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  10         176. Crow’s main project is EarthX, formerly called Earth Day Texas,
  11   which operates an annual expo showcasing environmental initiatives each
  12   year in April.
  13         177. The annual EarthX expo is highly prominent. In 2018, a local
  14   Dallas magazine reported that the event included hundreds of vendors,
  15   thousands of visitors, dozens of politicians, and “some of the most
  16   prominent environmentalists on the planet,” including the Secretary of
  17   Energy and Lieutenant Governor of Texas. The same articled described
  18   Crow as a “power broker in the environmentalist movement.”
  19         178. Due to the large amount of work that Crow put into the EarthX
  20 ` expo, afterwards he would always be looking to blow off steam and hosted
  21   a private afterparty each year. This event would eventually become one of
  22   most lucrative, in terms of development business relationships, Forced Sex
  23   Parties each year for the Venture, as it consisted of high-profile individuals
  24   looking to indulge themselves in a discreet environment—even its existence
  25   was considered secret.
  26         179. The lifestyle of Crow and his friends was ideal for the Venture.
  27   Crow and his friends enjoyed recreational sex and drug use, and had money




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   1   and connections, but needed to keep such activities discreet due to their
   2   local prominence.
   3         180. Crow was also very used to getting his way and having vices
   4   delivered to him—he had staff fill contains of cocaine (his favorite drug) in
   5   his home, and once told Hubbard that he had never even been to a liquor
   6   store, as he had always had liquor delivered.
   7         181. Crow could be violent, impulsive, and reckless. On one
   8   occasion, he had a violent confrontation with one of his girlfriends that
   9   caused her to lose several teeth.
  10         182. Crow maintained what he called “lingerie rooms” in each
  11   property he owned in which he kept a variety of lingerie for female guests
  12   to wear, as well as what he called “stripper shoes.” Crow kept a range of
  13   sizes of such shoes, from size 4.5 at the smallest to size 9 at the largest
  14   (because, as Crow also explained to Hubbard, he did not want to be with a
  15   woman who had feet larger than a size 9). Crow even bought lingerie
  16   specifically in Hubbard’s size for her to wear that he kept in his Dallas home,
  17   at Rick’s urging.
  18         183. Crow also maintained “gift rooms,” in which he kept gifts for
  19   his guests, but especially female guests. These gifts prominently included
  20 ` children’s gifts, intended for women with children—as Crow confided to
  21   Hubbard, he particularly favored having sex with women with children, so
  22   he sought to entice them. This also served Rick well, as he preferred to traffic
  23   women who had young children—including first Plaintiff Hubbard then
  24   Plaintiff Goedinghaus—as he could control them by threats of loss of
  25   custody.
  26         184. Crow also maintained a “stripper pole” in his personal
  27   bathroom, which was typically off-limits to guests but that he allowed
  28   Goedinghaus to photograph herself with.


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   1          185. Hubbard told Crow that Rick was forcing her to perform sex
   2     acts and forcing them to take drugs to force such acts. However, Crow had
   3     grown to enjoy Rick’s services and took no action to either help Hubbard or
   4     stop doing business with Rick and the Venture.
   5          186. Crow was sufficiently involved in the Venture that he would
   6     often send text messages with Hubbard, or allow himself to be
   7     photographed with her:
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   1          187. Rick, for his part, was eager to capitalize on Crow’s success,
   2     including writing letters to ask for money, and even receiving information
   3     from Crow’s accountant on how to best structure loans to the Venture.
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   1         188. Crow and all of the Investor Defendants either attended at least
   2   one or knew about the Forced Sex Parties, which often involved large
   3   amounts of cocaine, GHB, MDMA, Oxycodone, Vicodin, Benzodiazepine,
   4   Adderall, and other illegal drugs, in addition to Plaintiffs being forced to
   5   perform sex acts.
   6         189. Each of the Investor Defendants also paid Rick funds to support
   7   the Venture, and benefitted as a result.
   8         190. These men were not just customers, they were also often
   9   investors in Rick’s string of fraudulent businesses. These investments were
  10   a quid pro quo for the men to gain access to Rick’s trafficking venture, and
  11   each of these men had either actual knowledge of or recklessly disregarded
  12   the fact that Rick was forcing Hubbard and Goedinghaus to engage in
  13   commercial sex, often because Hubbard or Goedinghaus had directly told
  14   them. The Investor Defendants also gave Rick and the Venture credibility:
  15   Rick would use their names and reputations to recruit others into the
  16   Venture.
  17                             Defendant Scott Brunson
  18         191. Defendant Brunson is a sculptor and licensed builder, and
  19   owner of Luna Pietra LLC. He also supported his lifestyle through the sale
  20 ` of drugs.
  21         192. In 2019, Brunson began to visit Rick and Plaintiff Goedinghaus
  22   in the evenings at the home they shared at the time, at 1605 Grayford Drive,
  23   Austin, Texas. From these visits, Brunson knew or, at a minimum, recklessly
  24   disregarded, the fact that Rick was forcing Goedinghaus to perform sex acts.
  25         193. In April or May 2019, Rick informed Goedinghaus that she
  26   needed to “convince” Brunson to make a substantial investment in the
  27   Venture through Rick’s company EcoLoft Homes LLC.




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   1         194. Rick threatened Goedinghaus by telling her that if she did not
   2   have sex with Brunson, Rick would choke her until she was unconscious—
   3   something Rick had done to her previously.
   4         195. In response to this threat, Goedinghaus had sex with Brunson
   5   as Rick demanded, and in exchange, Brunson gave Rick $27,000 in cash in
   6   exchange for such commercial sex.
   7                             Defendant Michael Cain
   8         196. Defendant Cain is a prominent film producer, whose work has
   9   won the Sundance Film Festival Special Jury Prize and has produced more
  10   than twenty films for HBO and Showtime.
  11         197. Cain is one of Crow’s closest friends and would attend Crow’s
  12   Forced Sex Parties and bring drugs to them, including MDMA, when his
  13   wife was out of town.
  14         198. At these Forced Sex Parties, Rick would force Hubbard to
  15   perform sex acts in front of Cain, while Cain had sex with other women at
  16   the parties.
  17         199. In exchange, Cain provided financial support to the Venture in
  18   an amount unknown at this time.
  19         200. Cain was so close to the Venture that he would even wish
  20 ` Hubbard a happy birthday on Facebook. Such a message had a dark
  21   undertone, since Rick would as a rule force Hubbard (and later Plaintiff
  22   Goedinghaus) to attend Forced Sex Parties on her birthday:
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  10                                   Defendant H.J. Cole
  11           201. Founder of Dallas real estate brokerage H.J. Cole & Associates,
  12     Defendant Cole bragged to Hubbard that he had worked for years as a drug
  13     dealer to further support his lifestyle.
  14           202. One of Crow’s closest friends, Cole would supply cocaine to
  15     Crow, both for Crow’s Forced Sex Parties and personal use.
  16           203. Cole also served as Rick’s backup when Crow was busy or out
  17     of town and Rick desired to attend a Forced Sex Parties, Rick would then
  18     force Hubbard to go to Cole’s home, where he would force Hubbard to
  19     perform sex acts, including sex with Cole.
  20 `         204. On one occasion, Rick forced Hubbard to take a naked photo in
  21     Cole’s home to send to Crow when Crow was unavailable to show that Rick
  22     and Hubbard were waiting for him. This was intended as an enticement to
  23     Crow to further associate with the Venture.
  24                                  Defendant Philip Ecob
  25           205. Defendant Ecob, president of hedge fund Twynym Capital,
  26     previously worked at Crow Holdings Capital for more than 14 years and
  27     during all relevant times, until 2021.




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   1         206. Ecob provided financial support to the Venture as well as social
   2   cachet, which Rick would use to further grow the Venture—Rick would
   3   brag to Hubbard whenever he had a meeting with Ecob.
   4         207.   Ecob was aware of the Forced Sex Parties at which Hubbard
   5   was forced to perform sex acts, and knew or, at a minimum, recklessly
   6   disregarded, the fact that Rick was forcing Hubbard to perform sex acts.
   7   Rick also informed Hubbard that he had provided Ecob with naked photos
   8   of Hubbard.
   9         208. Ecob received benefit from the Venture at a minimum in the
  10   from having knowledge about the Forced Sex Parties and in his
  11   compensation from Crow Holdings Capital, where Ecob was well
  12   compensated, in part to maintain his silence concerning the Forced Sex
  13   Parties.
  14                              Defendant Coe Juracek
  15         209. Defendant Juracek, a Senior Managing Director at Crow
  16   Holdings Capital and member of its investment committee, also informally
  17   worked as Crow’s “fixer,” solving problems that came up in his personal
  18   life. Juracek also attended camp outs with Rick and Crow.
  19         210. Juracek provided financial support to the Venture as well as
  20 ` social cachet, which Rick would use to further grow the Venture.
  21         211. Juracek was aware of the Forced Sex Parties at which Hubbard
  22   was forced to perform sex acts, and knew or, at a minimum, recklessly
  23   disregarded, the fact that Rick was forcing Hubbard to perform sex acts.
  24   Rick informed Hubbard that he had provided Juracek with naked photos of
  25   Hubbard. Juracek also threatened Hubbard with his testimony in court that
  26   could have Hubbard’s children taken away from her.
  27         212. Juracek also benefitted by having knowledge of the Forced Sex
  28   Parties and in his compensation from Crow Holdings Capital, where


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   1     Juracek was well compensated, in part to maintain his silence concerning
   2     the Forced Sex Parties.
   3                               Defendant Paul Pendergrass
   4           213. Defendant Pendergrass is a real estate investor and owner of
   5     investment company P3 LLC.
   6           214. Pendergrass supported the Venture by investing at least
   7     $250,000 in the Venture, paid by wire transfer, through Rick’s company
   8     EcoLoft Homes LLC, with knowledge of the trafficking events that were
   9     occurring.
  10           215. Pendergrass also provided further funds to the Venture once
  11     Hubbard fled the Venture, to support Rick’s effort to locate Hubbard.
  12           216. Pendergrass witnessed numerous Forced Sex Parties and met
  13     Rick and Goedinghaus at various AirBnBs in Summer 2019; then continuing
  14     in Summer 2019 at 501 Havana Street Austin, Texas. He would interrupt the
  15     parties, demanding the return of his funds
  16           217. In exchange, Rick forced Goedinghaus to perform sex acts in
  17     front of Pendergrass, and repeatedly offered to force Goedinghaus to have
  18     sex with Pendergrass.
  19                                Defendant Robert Pruitt
  20 `         218. Defendant Pruitt is the president of Data Center Equipment &
  21     Support, LLC.
  22           219. Pruitt provided financial support to the Venture, often in the
  23     form of paying for expenses at Rick’s request, such as Rick’s utility bill.
  24           220. Pruitt also employed Rick for a time at his company, the only
  25     full-time job the Rick ever held in the 12 years Hubbard or Goedinghaus
  26     knew Rick.




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  13           221. In exchange, Rick would regularly send Pruitt naked photos of
  14   Hubbard. Pruitt would also tell Hubbard he would fire Rick if Rick did not
  15   send such photos.
  16           222. Hubbard would also meet with Pruitt in the 2010–17 time
  17   period, and Rick would force Hubbard to sit in Pruitt’s lap, while Pruitt
  18   would grope Hubbard, smell her hair, and kiss her cheek.
  19           223. Pruitt would refer to himself as “Uncle Bob” to Hubbard and
  20 ` would refer to his meetings with Hubbard as “spending time with Uncle
  21   Bob.”
  22           224. Rick would force Hubbard to send “thank you” texts to Pruitt
  23   after these encounters. For example:
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  16                              Defendant Ralph Rogers
  17         225. Beginning in April 2019, Defendant Rogers allowed Rick and
  18   Goedinghaus to live rent-free on his property at 28827 Fine Road, Marble
  19   Falls, Texas, once Rick lost his previous home. Rick lives at this property to
  20 ` this day. Rick boasts that this is a “lake house”—in order to lure investors
  21   and victims to the Venture—but it is in fact a trailer that is not located on
  22   any body of water.
  23         226. In exchange, Rick would host Forced Sex Parties at Rogers’s
  24   property, and would force Goedinghaus to “host” the parties while naked
  25   or dressed in lingerie.
  26         227. Rick would also distribute naked photos of Hubbard to Rogers
  27   and others—and then tell Hubbard that “everyone” had seen her naked.




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   1          228. Rogers would watch Rick and Goedinghaus have sex at the
   2     Forced Sex Parties, while Rogers would masturbate and grope
   3     Goedinghaus.
   4                     The Venture Involves Shawn and Jade Mayer
   5          229. Defendant Shawn Mayer is the former husband of Hubbard.
   6     While early on in the Venture, Rick and Mitchell made exaggerated
   7     allegations concerning Shawn Mayer, by 2019 Rick had decided that Shawn
   8     Mayer and his new wife Jade Mayer could be useful to the venture.
   9          230. Specifically, Rick would provide to Shawn and Jade Mayer cash
  10     payments, hotel rooms, and gifts in exchange for following Rick’s
  11     instructions concerning Hubbard’s children, including assisting in
  12     withholding Hubbard’s children from her and providing them to Rick as
  13     needed to attend an exclusive twice-yearly camping trip with Defendant
  14     Crow. Rick also instructed Shawn Mayer to not contact Hubbard.
  15     Shawn and Jade Mayer complied with Rick’s requests despite Hubbard
  16     informing Shawn and Jade Mayer repeatedly by email and phone starting
  17     in or about March 2017 and consistently through 2019 and 2020 that Rick
  18     had sexually assaulted her and caused her to commit commercial sex acts
  19     by means of force.
  20 `        231. On the contrary, Shawn and Jade Mayer were eager to profit
  21     from Rick’s payments. On one occasion in Summer 2019 when Rick was
  22     slow in making a promised payment, Shawn Mayer even caused Hubbard’s
  23     eldest daughter to ask Rick for money.
  24          232. Shawn and Jade Mayer’s actions also made more credible Rick’s
  25     threats to harm Hubbard’s children, including Rick’s repeated threats—
  26     starting in 2012—that Rick would kill Hubbard’s children to punish her.
  27          233. Shawn and Jade Mayer’s actions would also later assist the
  28     Venture in forcing Goedinghaus to commit sex acts, as in or around July


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   1   2019, Rick would be sure to have discussions with Shawn and Jade Mayer
   2   concerning Hubbard’s children in Goedinghaus’s earshot.
   3         234. Rick would then further convey this to Goedinghaus as a threat:
   4   if Goedinghaus did not obey Rick and the Venture, Rick would also take
   5   control of her child away from her as he had successfully done with Shawn
   6   Mayer and Hubbard’s children.
   7                       Rick Escalates the Venture’s Activities
   8         235. Ultimately, Rick founded a series of companies across a variety
   9   of supposed industries—with names such as Integrity Based Marketing,
  10   LLC (registered in Texas in 2013); Storm Fitness Nutrition, LLC (registered
  11   in Texas in 2014); Ultra Combat Nutrition, LLC (registered in Texas in 2014);
  12   EcoLoft Homes LLC (registered in Texas in 2017), and Elevated Wellness
  13   Partners LLC (registered in Texas in 2017), as well as the unassociated entity
  14   Texas Sunrooms and Windows.
  15         236. However, none of these “businesses” ever had employees or
  16   actual operations. Instead, they were simply fronts for Rick to process funds
  17   for the Venture, which became his only means of financial support.
  18         237. Rick began subtly, not telling Hubbard that sex was being
  19   exchanged for money at sex parties—thus causing Hubbard to engage in
  20 ` commercial sex acts by means of fraud. Rick would only provide Hubbard
  21   with seizure-stopping medicine if she complied with his requests.
  22         238. By 2012, Rick had dropped any pretense of requiring Hubbard’s
  23   consent for the Forced Sex Parties and had begun openly assaulting and
  24   threatening Hubbard in order to cause her to attend the Forced Sex Parties
  25   and perform sex acts at them. Rick’s behavior further escalated over time,
  26   becoming more violent.
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   1         239. The methods of force that Rick used included physically beating
   2   Hubbard. These beatings reached such levels that Hubbard suffered a
   3   broken arm, and two separate neck surgeries in 2014 and in 2015 or 2016.
   4         240. Before one of these neck surgeries, in 2014, doctors warned
   5   Hubbard that she could have become a quadriplegic from the injuries that
   6   Rick had inflicted.
   7         241. Another time, Hubbard needed abdominal surgery for torn
   8   intestinal lining after an injury caused by Rick. On another occasion, in
   9   March 2017, Rick put a gun to Hubbard’s head and threaten to kill her.
  10         242. Rick would also engage in heavy drug use himself, often with
  11   the drugs prescribed by the Medical Doctor Defendants, and tell stories
  12   about how he fantasized about killing people. This erratic behavior
  13   concerned Hubbard, as it made it more likely that Rick may kill her or harm
  14   her children in a fit of rage if she did not comply with his demands.
  15         243. Rick also forced Hubbard to be sterilized on October 29, 2010,
  16   having tubal ligation performed after she gave birth to their child without
  17   her consent. After this, Rick used it as an enticement, telling Hubbard that
  18   if she sufficiently complied with his demands, he might pay to have the
  19   procedure reversed. Rick would also tell Hubbard that she couldn’t leave
  20 ` because no one else would “want [her]” since she could no longer have
  21   children.
  22         244. Rick also would drink heavily and force Hubbard to drink
  23   heavily as well, then when intoxicated would record videos of her and use
  24   them to threaten to portray her as an alcoholic to any police and courts as
  25   well as to Hubbard’s family and friends, and to other members of the
  26   Venture.
  27         245. As time went on, Rick’s behavior became even more alarming.
  28   He would tell Hubbard that he was aroused when she cried and talked


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   1   about his “greatest fantasy” of breaking into people’s homes and raping
   2   them. He also spoke of hiring someone to violently rape Hubbard while he
   3   watched.
   4        246. Rick would also talk regularly about building a “bunker,” and
   5   Hubbard would see Google searches on his computers for topics such as
   6   how to bury bodies, further putting Hubbard in fear of Rick’s actions.
   7              Hubbard Leaves Rick and Subsequent Abuse and Labor Trafficking
   8        247. Hubbard left Rick in March 2017—after one occasion where he
   9   held a gun to her head and threatened to kill her, Hubbard realized that she
  10   must escape Rick.
  11        248. However, the scope of the Venture meant that she had not
  12   escaped the Venture. Instead, Rick still unlawfully benefitted from Hubbard
  13   by carrying out labor trafficking through other members of the Venture.
  14        249. After leaving Rick, to support herself Hubbard found work in
  15   summer 2017 as a waitress at Silver City Cabaret (the “Cabaret”), a
  16   gentleman’s club in Dallas Texas that was owned by Defendant RCI
  17   Entertainment, Inc. There she met Defendant Case Grover, a manager at the
  18   Cabaret.
  19        250. Grover quickly began to display traits similar to Rick, using a
  20 ` combination of forcing dependency and physical violence to force Hubbard
  21   to do as he wished for his financial benefit. This included forcing Hubbard
  22   to do extra work, including Grover’s managerial duties and for a time
  23   working as a dancer at the Cabaret. Grover then would refuse to disburse
  24   Hubbard’s wages to her.
  25        251. Shortly after Hubbard began working at the Cabaret, Grover
  26   began using physical abuse and threats to Hubbard, including repeatedly
  27   threatening her with guns, including an AK-47 which he brought to her
  28   home and fired repeatedly. At one point, in October 2017, Grover beat


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   1   Hubbard so badly that he broke her ribs, causing multiple fractures and
   2   contusions:
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  14         252. Grover would use his power as Hubbard’s manager to compel
  15   her to follow his demands, threatening to cut her hours or fire her if she did
  16   not comply, or did anything without his consent, including small tasks such
  17   as grocery shopping alone. Grover also demanded that Hubbard ask
  18   permission to use her phone and keep location services turned on so he
  19   could track her—if she turned the location services off, Grover would arrive
  20 ` at her home within 20 minutes.
  21         253. Grover also at one point insisted on driving Hubbard’s car and
  22   intentionally crashed it. Grover then insisted on driving Hubbard to work
  23   (and anywhere else she would go) himself.
  24         254. Hubbard reported Grover’s behavior to other managers at the
  25   Cabaret, including Defendant Molina, the club’s waitress manager, and
  26   Defendant Butler, the Cabaret’s owner. None of them took any action.
  27   However, Butler did repeatedly ask Hubbard for sexual favors and
  28   threatened to fire her if she did not comply.


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   1        255. Hubbard learned that Grover was part of the Venture and had
   2   been in regular contact with Rick since Hubbard had begun working at the
   3   Cabaret—in fact, Rick was even in touch with Grover’s wife.
   4        256. Indeed, on one occasion in Fall 2017, Rick came to visit Hubbard
   5   and offered to allow her to see her daughter, but only in exchange for all of
   6   the earnings that Hubbard made that day at the Cabaret and on the
   7   condition that Hubbard would have sex with Rick. This request showed that
   8   Rick knew that Grover was himself confiscating Hubbard’s wages, and Rick
   9   knew that such a demand was impossible.
  10       Hubbard Meets Michael Hynes, Jr., Who Further Labor Traffics Hubbard
  11        257. After Grover broke Hubbard’s ribs in October 2017, she left him
  12   and quit her job at the Cabaret. In pain from the broken ribs and still
  13   addicted to some of the drugs that Rick had made her take, Hubbard was
  14   highly vulnerable and even suicidal.
  15        258. Around this time, a man named Michael Hynes, Jr., (“Hynes”)
  16   had been messaging Hubbard on Facebook. On December 26, 2017,
  17   Hubbard responded to one of Defendant Hynes’s messages, and Hynes
  18   came to meet Hubbard for a date at her home.
  19        259. As Hubbard would only learn later, Hynes was in fact a member
  20 ` of the Venture. In fact, Hynes had for years been selling the drug GHB to
  21   Fixer Defendant Knewitz, who in turn had supplied the drug to the Forced
  22   Sex Parties that Rick had forced Hubbard to attend.
  23        260. Initially, Hynes appeared safe and reassuring. His father,
  24   Michael Hynes, Sr. (“Hynes Sr.”), was a member of the Dallas Fort Worth
  25   Police Department, which led Hubbard to believe that she would be safe.
  26   Hynes also told Hubbard that he was in the military and would occasionally
  27   leave for “special assignments.”




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   1        261. However, it later became apparent that this was an outlandish
   2   lie or delusion. Hynes had no military experience, and his “special
   3   assignments” in fact were him going on private meth binges, a drug he was
   4   addicted to.
   5        262. Over time, Hynes’s delusions became even more disturbing. He
   6   insisted that he had lost his arm in an explosion, and the government had
   7   given him a new arm using “nanotechnology.” Hynes would brag that if he
   8   was injured, the military-grade “nanites” would repair any injury. Hynes
   9   would also regularly compare himself to Superman.
  10        263. Hynes also sought to use deceit to make Hubbard addicted to
  11   meth and would give her what he claimed were “steroids” for her injuries.
  12   In fact, he was secretly giving Hubbard meth, a fact she only learned later.
  13        264. Hynes concealed his dosing of Hubbard with meth through the
  14   use of what he called “parachuting.” He would empty prescription
  15   medication and replace the contents with meth. Hubbard only learned of
  16   this days before escaping Hynes.
  17        Hubbard Loses Her Home Due to the Venture and Moves in with Hynes
  18        265. In March or April 2018, while still with Hynes, Hubbard’s home
  19   was repossessed due to her heavily strained financial situation. Having
  20 ` nowhere else to go, Hubbard and Hynes both temporarily moved in with
  21   Hynes’s parents. (A move which, among other things, required Hubbard to
  22   relinquish her service dog, who had become violent with Hynes.)
  23        266. Hynes’s behavior continued to grow more erratic. He started to
  24   become jealous, constantly asking Hubbard how many people she had had
  25   sex with and becoming obsessed with the size of his penis, insisting that
  26   Hubbard tell Hynes that his was the largest penis she had ever seen.
  27        267. Hynes also insisted he had kicked his addiction to meth, which
  28   was an obvious lie. He would sometimes sneak out to his car to use meth,


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   1   or would go to hotels, including a local Motel 6 and American Inn, to use
   2   drugs. He would often bring guns to these hotels and shoot them in the
   3   room.
   4         268. In summer 2018, Hynes received a settlement for a car accident
   5   he had suffered before meeting Hubbard. Hynes used the money to rent a
   6   home in Hearst, Texas, where Hynes and Hubbard moved into in June or
   7   July 2018.
   8         269. At about this time, it became apparent that Hynes was in regular
   9   contact with Rick and would trade information on Hubbard’s whereabouts
  10   with him, so that Rick could assist in and benefit from Hynes forcing
  11   Hubbard to sell drugs for his benefit, which constituted labor trafficking.
  12         270. At Rick’s direction, Hynes also took Hubbard’s driver’s license
  13   and phone, and took her credit cards, and further forced Hubbard to record
  14   a series of videos apologizing to Rick, which Hynes provided to Rick.
  15         271. Hynes’s behavior became even more erratic. He would begin to
  16   threaten Hubbard with guns, including holding her at gunpoint and
  17   demanding that Hubbard tell Hynes that she loved him, and that Hynes’s
  18   penis was bigger than Rick’s.
  19         272. Hynes also forced Hubbard to “work” by selling cocaine and
  20 ` other drugs at various clubs owned by Defendant RCI, called XTC and
  21   Temptations, and Hynes would collect the money.
  22         273. In order to force Hubbard to comply with his demands, Hynes
  23   would regularly beat Hubbard, giving her multiple black eyes, choking her
  24   regularly, and holding a gun to her head. Hynes would also throw Hubbard
  25   around the house with such force that it would damage the walls.
  26         274. Attempting to escape her situation, Hubbard would regularly
  27   ask Hynes’s father, Hynes, Sr., for help, as well as calling the Fort Worth
  28   Police Department. However, Hynes, Sr., insisted that his son could not be


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   1   doing anything wrong. The Fort Worth Police Department similarly refused
   2   to take any action or even investigate Hubbard’s reports, evidently based
   3   on statements from Hynes, Sr., that Hubbard was not credible.
   4           275. Hynes, Sr., would also periodically tell Hubbard that if she
   5   continued to accuse his son, he would “call Rick” and Rick would “come
   6   get [her].”
   7           276. Hynes’s behavior became increasingly extreme, sending
   8   Hubbard to the hospital multiple times. On one visit, Hynes arranged
   9   Hubbard to be drug tested and Hynes or his parents sent the results to Rick,
  10   apparently at Rick’s request to use as further leverage to threaten to custody
  11   of Hubbard’s children.
  12           277. Eventually, in late October or early November 2018, Hynes tied
  13   Hubbard to a bed and kept her restrained for three days, releasing her only
  14   to use the restroom. While tied up, Hynes would smoke methamphetamine
  15   and blow the smoke in Hubbard’s face in an attempt to addict her to the
  16   drug.
  17           278. In order to prevent her escape, Hynes stabbed Hubbard in her
  18   toes with broken glass so that even if she untied herself while he was gone,
  19   she would have difficulty walking. Hynes then left Hubbard alone. At this
  20 ` time, Hubbard had no identification, no credit cards, no cash, no food, the
  21   power had been shut off for lack of payment, and no phone, leaving her no
  22   way to seek help.
  23           279. Eventually, after three days left alone tied to the bed, Hubbard
  24   was able to attract the attention of construction workers outside. One of the
  25   workers helped Hubbard and brought her a phone. This allowed Hubbard
  26   to call for help and be taken to a hospital for treatment.




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   1                          Plaintiff Goedinghaus Meets Rick
   2         280. Meanwhile, in November 2018, Plaintiff Goedinghaus was
   3   going through a difficult divorce.
   4         281. One couple introduced her to Rick. He at first appeared highly
   5   charming and Goedinghaus felt as though Rick truly cared for her. He
   6   presented himself as a “hero” to her. Rick provided Goedinghaus with a job
   7   at his company with less demanding hours so that Goedinghaus could
   8   spend more time with her daughter.
   9         282. By December 2018, Goedinghaus had moved in with Rick at
  10   1605 Grayford Drive, Austin, Texas. They shortly thereafter became
  11   engaged, although they never married as they were both still married to
  12   other people (Hubbard in Rick’s case) at the time. (Later, in April 2019, they
  13   would move to Defendant Rogers’s property at 28827 Fine Road, Marble
  14   Falls, Texas).
  15         283. After Goedinghaus confided in Rick of past sexual abuse, Rick
  16   introduced Goedinghaus to Defendant Eller, whom he claimed was the
  17   “best” psychologist, and told Goedinghaus that Eller was the “life coach” of
  18   famed motivational speaker Tony Robbins.
  19         284. Goedinghaus began having phone calls with Eller one a week
  20 ` beginning in January or February 2019.
  21         285. Eller first presented himself as a therapist and life coach.
  22   However, it gradually became apparent that Eller had an ulterior motive in
  23   his role in the Venture, and Eller began insisting that Goedinghaus needed
  24   medication and needed to stay with Rick because he provided a highly
  25   supportive environment for her.




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   1                         The Venture Traffics Goedinghaus
   2         286. In February 2019, Rick began forcing Goedinghaus to perform
   3   sex acts, including with Scott Brunson in Austin, Texas, and then with Ralph
   4   Rogers in the summer of 2019 in exchange for Rick to avoid an eviction.
   5         287. Rick would also force Goedinghaus to attend sex clubs,
   6   including one called Friends, where he forced Goedinghaus to walk around
   7   naked, have public sex with Rick, or a woman that Rick found, while others
   8   watched. At one of these parties in Austin, Goedinghaus was forced to have
   9   sex with a woman while twenty men watched her and masturbated. Rick
  10   further forced Goedinghaus to find women at these parties, who Rick would
  11   also force to perform sex acts.
  12         288. Rick would force Goedinghaus to perform these forced
  13   commercial sex acts by beatings, choking (on at least twenty-five occasions,
  14   often until she was unconscious), threats, and drugs procured by the
  15   assistance of Defendants Eller and Miller.
  16         289. At times, after being choked unconscious, Goedinghaus would
  17   wake to Rick raping and sodomizing her.
  18         290. Rick would also force Goedinghaus to perform labor, in the
  19   form of helping Rick to “run” his fraudulent companies—through this,
  20 ` Goedinghaus quickly realized that Rick’s companies were false fronts for
  21   the Venture to receive money.
  22         291. Rick would also tell Goedinghaus disturbing stories, such as
  23   fantasies about raping and killing people, and even told Goedinghaus that
  24   he had once killed someone. He also would speak of how he wished he had
  25   been a Navy SEAL and would sometimes disappear for days without
  26   explanation, and claim that he was himself a military contractor and a
  27   “mercenary killer” for the United States government. He would often return
  28   some mornings covered in dirt and mud. Rick also had a prominent tattoo


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   1     on his left hand of the Roman numeral III encircled in a ring of stars —the
   2     insignia of the “Three Percenters,” a far-right extremist organization
   3     signifying his connection to the group.
   4           292. Rick also told Goedinghaus that he was “turned on” when she
   5     cried and would regularly take large doses of the drug Trimix—which gave
   6     Rick an extreme erection—and then force Goedinghaus to have sex with
   7     him, which he called “sport fucking”. Rick also spoke of hiring someone to
   8     violently rape Goedinghaus while he watched. Rick also occasionally took
   9     GHB, which has similar effects.
  10           293. Rick would also use Eller as a threat, both due to his influence
  11     (as a prominent psychologist and his supposed connection to Tony Robbins)
  12     and his control of the drugs prescribed. When Goedinghaus would show
  13     sign of resistance, Rick would withhold drugs. On one occasion, he forced
  14     Goedinghaus into Xanax withdrawal which caused her to have serious
  15     seizures. Rick then forced Hubbard’s daughter (who still lived with Rick at
  16     the time) to hold a belt in Goedinghaus’s mouth to prevent her from biting
  17     her tongue.
  18           294. Rick also trafficked Goedinghaus to the Investor Defendants, as
  19     set forth above.
  20 `         295. On one occasion, Rick forced Goedinghaus to attend a Forced
  21     Sex Party at Defendant Crow’s house on July 20, 2019, which was
  22     Goedinghaus’s birthday. Rick instructed Goedinghaus to “seduce” either
  23     Crow or his son, and to “try to get pregnant.” At that party, Rick also forced
  24     Goedinghaus to have sex outside of Crow’s house where Rick would watch,
  25     and when he thought Goedinghaus may not comply he choked her and
  26     threatened her with Crow’s influence.
  27           296. Following this Forced Sex Party, Rick and Goedinghaus stayed
  28     in Crow’s guest house for several days.


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   1        297. On another occasion, in September 2019, Rick severely beat and
   2   choked Goedinghaus before forcing her to attend the bachelor party of Fixer
   3   Defendant Knewitz. This took place at a strip club, where Rick forced
   4   Goedinghaus to perform sex acts with the club’s dancers for the enjoyment
   5   of Knewitz, Rick, and other guests.
   6        298. Following the bachelor party, while staying in an AirBnB, Rick
   7   again choked Goedinghaus until she was unconscious (in part, for not
   8   finding other women to have sex with him), and Goedinghaus woke up to
   9   see Rick taking off her pants, and Goedinghaus began sobbing.
  10        299. After this, Goedinghaus sought to leave the wedding, but
  11   Knewitz, still carrying out his role as fixer for the Venture, convinced
  12   Goedinghaus to stay for the wedding. This time, Goedinghaus was so
  13   reluctant that Rick and Knewitz had to resort to threats of having
  14   Goedinghaus arrested and her child taken away.
  15        300. Goedinghaus attended the wedding, but afterwards left Rick.
  16   Goedinghaus escaped to SAFE, a domestic violence shelter, in Austin.
  17        301. After leaving, Rick continued to follow Goedinghaus, and
  18   Goedinghaus even found tracking devices in her car.
  19        302. However, Goedinghaus contacted law enforcement, and caused
  20 ` Rick to be arrested on harassment charges while obtaining a lifetime order
  21   of protection against Rick (as Hubbard also later obtained).
  22                  The Venture Affected Interstate Commerce
  23        303. The Venture relied on the essential work of Defendant Eller,
  24   based in this District in Santa Monica, California, who regularly
  25   communicated with Rick in Texas.
  26        304. Eller also submitted false affidavits and testimony to courts in
  27   Texas.




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   1          305. Eller also knowingly caused the Medical Doctor Defendants,
   2     who resided at relevant times in Texas, to improperly issue controlled
   3     substances to the Venture.
   4          306. Such communication, affidavits, testimony, and procurement of
   5     procured substances was foundation to the unlawful activities of the
   6     Venture.
   7          307. In addition, payments were made to support the Venture and in
   8     exchange for its forced commercial sex act via Square, wire transfer, and
   9     other electronic means.
  10          308. In addition, the Venture affected interstate commerce because
  11     the market for sex workers is national.
  12      The Enterprise Engaged in Numerous Unlawful RICO Predicate Acts
  13          309. The Enterprise, which consisted of all Defendants, committed a
  14     number of predicate acts that proximately harmed Plaintiffs.
  15          310. These predicate acts included the following, which are further
  16     detailed in the RICO statement filed concurrently with this Complaint.
  17          • Violation of the Trafficking Victims Protection Act (18 U.S.C. §§
  18                1591, 1589): As described herein (see paragraphs ¶¶ 5, 8, 9, 13, 15,
  19                17, 18, 21, 26–28, 34, 35, 38, 40, 43, 45–50, 120–126, 132, 134, 136, 139,
  20 `              141–143, 146, 147, 150, 152, 155–158, 183–185, 187–190, 192–194,
  21                197–199, 201–203, 205–207, 2019–212, 214–217, 220–223, 225, 228,
  22                232–237, 245–247, 249, 251, 254, 258, 264, 267–269, 281–285, 287, 288,
  23                290, 292, 294), all Defendants participated in and benefitted from
  24                the Venture and its acts of sex and labor trafficking, in violation of
  25                18 U.S.C. §§ 1591 and 1589.
  26          • Violation of the Controlled Substances Act (21 U.S.C. § 801, et
  27                seq.): As described herein (see paragraphs ¶¶ 8, 13, 25, 34, 40, 48,
  28                121, 125, 144, 145, 183, 192, 254, 262, 264, 267), the Enterprise relied


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   1              on and profited from the unlawful dealing, use, and distribution of
   2              numerous controlled substances, including at least Xanax,
   3              Adderall, Oxycodone, cocaine, GHB, MDMA, Vicodin, and
   4              Benzodiazepine.
   5         • Wire Fraud (18 U.S.C. § 1343): As described herein (see paragraphs
   6              ¶¶ 8, 14), the Enterprise engaged in a scheme to defraud by means
   7              of false statements transmitted by means of interstate wires.
   8              Specifically, Defendant Eller engaged in such wire fraud in order
   9              to force Plaintiffs to engage in commercial sex acts.
  10         • Witness Tampering (18 U.S.C. § 1512): As described herein (see
  11              paragraphs ¶¶ 12, 20, 158), the Enterprise relied upon threats of
  12              physical force in order to hinder, delay, and/or prevent the
  13              communication      to   law   enforcement     officers    information
  14              concerning the omission of a federal offense. Specifically, the
  15              Venture    repeatedly    threatened,   particularly      through   the
  16              involvement of Defendant Texas Ranger Mitchell, Plaintiffs in
  17              order to discourage them from contacting law enforcement
  18              regarding the acts of the Venture.
  19         311. These predicate acts proximately harmed Plaintiffs as these acts
  20 ` were essential to the Venture and Enterprise and resulted in Plaintiffs
  21   suffering financial harm, including the loss of earnings.
  22         312. These damages include, but are not limited to, moneys that
  23   Hubbard and Goedinghaus earned for providing companionship, including
  24   at Forced Sex Parties, and moneys that Hubbard earned work at Silver City
  25   Cabaret.
  26         313. These predicate acts were committed by Defendants as part of
  27   an open-ended continuity Enterprise, where the criminal conduct will be
  28   repeated and extend indefinitely, and which will continue to generate a


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   1     pattern of racketeering activity for the foreseeable future. There exists a
   2     threat of such activity continuing.
   3           314. In the alternative, these predicate acts were also committed by
   4     Defendants as part of a closed-ended continuity Enterprise, where the
   5     criminal conduct began in August 2012 and concluded on or around
   6     September 2019—this period, constituting more than five years, was a
   7     substantial period of time, and the enterprise targeted multiple victims.
   8           315. The Enterprise had a legitimate non-criminal purpose,
   9     specifically facilitation of entertainment, companionship, and networking at
  10     social functions, which Defendants corrupted to their criminal ends.
  11           316. The first predicate act of the Enterprise currently known to
  12     Plaintiffs occurred on or around August 2012.
  13           317. The last predicate act of the Enterprise currently known to
  14     Plaintiffs occurred no earlier than September 2019, but Plaintiffs believe that
  15     the Enterprise is continuing.
  16                                  CAUSES OF ACTION
  17       COUNT ONE: VIOLATION OF HUMAN TRAFFICKING LAWS, 18
  18                                     U.S.C. § 1591(a)
  19                                 (SEX TRAFFICKING)
  20 `                             AGAINST ALL DEFENDANTS
  21           318. Plaintiffs repeat and reallege the allegations made above as if
  22     fully set forth herein.
  23           319. Defendants knowingly affected interstate commerce by
  24     recruiting, enticing, harboring, transporting, obtaining, maintaining,
  25     and/or soliciting Plaintiffs and others by any means knowing—or in
  26     reckless disregard of the fact—that Rick and other members of the Venture
  27     would use means of force, threats of force, fraud, and coercion to cause
  28     Plaintiffs and others to engage in commercial sex acts.


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   1         320. Further, all Defendants benefited, financially or by receiving
   2   something of value, from participating in a venture which has engaged in
   3   recruiting, enticing, harboring, transporting, obtaining, maintaining,
   4   and/or soliciting Plaintiffs and others by any means knowing—or in
   5   reckless disregard of the fact—that Rick or others in the Venture would use
   6   means of force, threats of force, fraud, and coercion to cause Plaintiffs and
   7   others to engage in commercial sex acts.
   8         321. As a direct result of Defendants’ violations of 18 U.S.C. § 1591(a),
   9   Plaintiffs each suffered serious injury and damages in an amount to be
  10   determined at trial.
  11    COUNT TWO: VIOLATION OF HUMAN TRAFFICKING LAWS, 18
  12                                    U.S.C. § 1589
  13                             (LABOR TRAFFICKING)
  14                          AGAINST ALL DEFENDANTS
  15         322. Plaintiffs repeat and reallege the allegations made above as if
  16   fully set forth herein.
  17         323. Defendants knowingly provided or obtained the labor or
  18   services of Plaintiffs by (a) means of force, threats of force, physical restraint,
  19   or threats of physical restraint; (b) means of serious harm or threats of
  20 ` serious harm to that person or another person; (c) means of the abuse or
  21   threatened abuse of law or legal process; or (d) means of any scheme, plan,
  22   or pattern intended to cause Plaintiffs to believe that, if Plaintiffs did not
  23   perform such labor or services, Plaintiffs or another person, including
  24   Plaintiffs’ children, would suffer serious harm or physical restraint.
  25         324. Further, all Defendants benefitted, financially or by receiving
  26   anything of value, from participation in a venture which has engaged in the
  27   providing or obtaining of labor or services by prohibited means, knowing




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   1   or in reckless disregard of the fact that the Venture had engaged in the
   2   providing or obtaining of labor or services by such prohibited means.
   3         325. As a direct result of Defendants’ violations of 18 U.S.C. § 1589,
   4   Plaintiffs each suffered serious injury and damages in an amount to be
   5   determined at trial.
   6    COUNT THREE: VIOLATION OF RACKETEER INFLUENCED AND
   7           CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1962(c)
   8                          (PATTERN OF RACKETEERING)
   9                          AGAINST ALL DEFENDANTS
  10         326. Plaintiffs repeat and reallege the allegations made above as if
  11   fully set forth herein.
  12         327. All Defendants have acted in violation of the Racketeer
  13   Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c) to the
  14   detriment of Plaintiffs.
  15         328. At all times relevant to these allegations, all Plaintiffs and all
  16   Defendants were “person[s]” within the meaning of 18 U.S.C. § 1961(3).
  17         329. Defendants came together to form an association in fact
  18   Enterprise.
  19         330. At all times relevant to the above allegations, the Enterprise had
  20 ` a legitimate non-criminal purpose, specifically facilitation of entertainment,
  21   companionship, and networking at social functions.
  22         331. However, this legitimate purpose was subverted by the
  23   Enterprise’s illegal acts and violations of federal laws.
  24         332. In the case of each Plaintiff, the Enterprise relied on the work of
  25   Eller and other members of the Enterprise in Texas, affecting interstate
  26   commerce.
  27         333. Defendants engaged in activities which constitute “racketeering
  28   activity,” including violation of the Trafficking Victims Protection Act (18


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   1   U.S.C. §§ 1591, 1589), violation of the Controlled Substances Act (21 U.S.C.
   2   § 801, et seq.), wire fraud (18 U.S.C. § 1343), and witness tampering (18
   3   U.S.C. § 1512), within the meaning of 18 U.S.C. § 1961(1).
   4         334. Defendants engaged in multiple predicate acts amounting to a
   5   “pattern of racketeering activity” within the meaning of 18 U.S.C. § 1961(5).
   6         335. Plaintiffs were damaged by Defendants’ violation of 18 U.S.C. §
   7   1962(c) in an amount to be determined at trial.
   8     COUNT FOUR: VIOLATION OF RACKETEER INFLUENCED AND
   9            CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1962(d)
  10                               (RICO CONSPIRACY)
  11                          AGAINST ALL DEFENDANTS
  12         336. Plaintiffs repeat and reallege the allegations made above as if
  13   fully set forth herein.
  14         337. All Defendants have acted in violation of the Racketeer
  15   Influenced Corrupt Organizations Act, 18 U.S.C. § 1962(d) to the detriment
  16   of Plaintiffs.
  17         338. At all times relevant to these allegations, Plaintiffs and all
  18   Defendants were “person[s]” within the meaning of 18 U.S.C. § 1961(3).
  19         339. All Defendants conspired to violate the Racketeer Influenced
  20 ` and Corrupt Organizations Act, 18 U.S.C. § 1962(c) by associating in fact to
  21   create an Enterprise which then engaged in a pattern of racketeering activity
  22   resulting in injury to Plaintiffs.
  23         340. The period of the conspiracy began as early as August 2012, and
  24   continued at least until September 2019, and likely is continuing today.
  25         341. The object of the conspiracy was to traffic women for purposes
  26   of sexual acts and forced labor, to the financial benefit of Defendant Rick
  27   Hubbard, Defendant Eller, and the Medical Doctor Defendants and for the
  28   sexual gratification and other benefits of all Defendants.


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   1           342. Each predicate act committed by the Enterprise was in
   2     furtherance of the conspiracy.
   3           343. The predicate acts caused physical and emotional injury to
   4     Plaintiffs, in an amount to be determined at trial.
   5                                PRAYER FOR RELIEF
   6           WHEREFORE, Plaintiffs pray that this Court enter judgment against
   7     Defendants as follows:
   8           (a)    Compensatory and punitive damages for each Plaintiff in an
   9     amount to be determined at trial, but in an amount no less than $75,000;
  10           (b)    Compensatory damages plus trebling for each Plaintiff for
  11     injuries caused by the Enterprise and its individual members;
  12           (c)    A permanent injunction enjoining Defendants, their partners,
  13     subsidiaries, agents, servants, and employees, and all persons acting under,
  14     in concert with them directly or indirectly, or in any manner, from in any
  15     way engaging in the Enterprise of any of the practices or crimes set forth
  16     herein;
  17           (d)    Imposition of a constructive trust upon all assets associated with
  18     the Enterprise;
  19           (e)    Punitive damages;
  20 `         (f)    Cost of suit and attorneys’ fees pursuant to Racketeer Influenced
  21     and Corrupt Organizations Act, 18 U.S.C. § 1964(c);
  22           (g)    Attorneys’ fees pursuant to the civil remedy for human
  23     trafficking in 18 U.S.C. § 1595(a);
  24           (h)    Applicable interest on the foregoing amounts; and
  25           (i)    Such other and further relief as the Court deems just and proper.
  26                                    JURY DEMAND
  27           Plaintiffs demand trial by jury on all issues so triable.
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   1     Dated: New York, New York
   2           November 1, 2022
   3

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